                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                  CRIMINAL ACTION NO. 5:05-CR-00235-KDB-DCK-12

 UNITED STATES OF AMERICA,


     v.                                                           ORDER

 YANCEY LECALL BANNER,

                 Defendant.


          THIS MATTER is before the Court on Defendant’s “Motion to Amend/Correct

Judgment,” (Doc. No. 273), and “Request for a Ruling on Motion to Correct Pursuant to Rule 36,”

(Doc. No. 363), filed on August 4, 2006 and February 27, 2007, respectively. In the motions,

Defendant requests the Court correct a “clerical error.” Defendant purports that at his sentencing

hearing on June 16, 2006, he understood the Court to impose a sentence of 220 months. However,

when the Court’s written entry of Judgment was entered, Defendant was sentenced to 240 months.

          Defendant’s motion is now moot. In January 2020, this Court reduced Defendant’s

sentence to Time Served. While Defendant is currently incarcerated, he is serving a separate

sentence for revocation of his supervised release and, thus, his pending motions are not relevant to

his current term of incarceration.

          IT IS THEREFORE ORDERED that Defendant’s motions, (Doc. Nos. 273, 363), are

DENIED AS MOOT.


                                       Signed: November 9, 2020




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